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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

    PETER ALLEN, et al.,

                       Plaintiffs,
                                               No. 19-CV-8173 (LAP)
    -against-
                                                   OPINION & ORDER
    CARL KOENIGSMANN, et al.,

                       Defendants.

LORETTA A. PRESKA, Senior United States District Judge:

        Before the Court is Plaintiffs’ motion for class

certification.1 The State Represented Defendants (“SRDs”),2 Non-

State Represented Defendants (“NSRDs”),3 and DOCCS Chief Medical



1 (Notice of Motion for Class Certification, dated May 12, 2022
[dkt. no. 346]; Declaration of Amy Jane Agnew (“Agnew Decl.”),
dated May 16, 2022 [dkt. no. 367]; Plaintiff and Plaintiff-
Intervenors’ Memorandum of Law in Support of Motion for Class
Certification (“Pl. Br.”), dated May 19, 2022 [dkt. no. 371];
Reply Declaration of Amy Jane Agnew, dated December 15, 2022
[dkt. no. 483]; Plaintiffs’ Reply Memorandum of Law in Support
of Motion for Class Certifications (“Pl. Reply”), dated December
15, 2022 [dkt. no. 484].)

2 (SRDs’ Memorandum of Law in Opposition to Plaintiffs’ Motion to
Certify a Class (“SRD Opp.”), dated November 15, 2022 [dkt. no.
457]; Declaration of Michael J. Keane in Support of SRDs’ Motion
in Opposition, dated November 15, 2022 [dkt. no. 458]. The SRDs
include Defendants Carl Koenigsmann, John Morley, Susan Mueller,
David S. Dinello, John Hammer, and Kristin Salotti. [SRD Opp. at
1.])

3 (Declaration of Ryan E. Manley, dated November 18, 2022 [dkt.
no. 462]; Defendants Angola, Gusman, Lee, Mantaro, Braselmann,
Karandy, Acrish and Ashongs’ Memorandum of Law in Opposition to
Plaintiffs’ Motion for Class Certification (“NSRD Opp.”), dated
November 18, 2022 [dkt. no. 463].)

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Officer, Dr. Carol Moores,4 oppose the motion. For the reasons

below, Plaintiffs’ motion is granted in part and denied in part.

I.   Background
     On May 12, 2022, Plaintiffs filed their first motion for

class certification. Plaintiffs seek certification of two

classes to “address the unconstitutional violations caused by

implementation of the MWAP Policy:” a liability class pursuant

to Fed. R. Civ. P. 23(b)(1)-(3) and 23(c)(4) and an injunctive

class pursuant to Rule 23(b)(2). (Pl. Br. at 7.) Plaintiffs

define the liability class as:

     [a]ll incarcerated individuals in the care and custody
     of the New York State Department of Corrections and
     Community Supervision who suffered or will suffer from
     chronic pain and/or neuropathies for whom medications
     defined as Medication with Abuse Potential (“MWAP”) were
     denied or discontinued without an individualized
     assessment of medical need or efficacy.

(Id.) The SRDs and NSRDs oppose certification of the liability

class.

     Plaintiffs define the injunctive class as:

     [a]ll incarcerated individuals who are or will be in the
     care and custody of the New York State Department of
     Corrections and Community Supervision who suffer or will
     suffer from chronic pain and/or neuropathies who require
     individualized assessments of medical need for treatment
     with MWAP medications.



4 (Defendant Moores’ Memorandum of Law in Opposition to Motion
for Class Certification (“Moores Opp.”), dated November 15, 2022
[dkt. no. 450.]; Declaration of Carol A. Moores, M.D. (“Moores
Decl.”), dated November 14, 2022 [dkt. nos. 489-491].)

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(Id.) Dr. Moores opposes certification of the injunctive class.

      Plaintiffs propose that the Class Period:

      start June 1, 2015 and extends to the date on which the
      New York State Department of Corrections and Community
      Supervision, through its Chief Medical Officer, is
      enjoined from, or otherwise ceases, allowing the policy,
      practice and custom of denying or discontinuing MWAP
      treatment to incarcerated individuals without medical
      justification and undertakes real and substantial
      efforts to remediate the constitutionally inadequate
      treatment of chronic pain in its patients.

(Pl. Br. at 7.)

II.    Threshold Issue: Standing for Liability Class
      Some of the SRDs’ arguments regarding predominance raise a

challenge to Plaintiffs’ standing as part of the liability

class. The SRDs point out that “most Defendants were not

personally involved in the treatment of most of the Plaintiffs

named.” (SRD Opp. at 21.) That fact implicates a “general rule”

of standing: “a plaintiff cannot bring a class action against

parties that did not injure her.” Mahon v. Ticor Title Ins. Co.,

683 F. 3d 59, 61 (2d Cir. 2015) (citing La Mar v. H & B Novelty

& Loan Co., 489 F.2d 461, 466 (9th Cir.1973)); accord Thompson

v. Board of Educ. of Romeo Community Schools, 709 F.2d 1200,

1204 (6th Cir. 1983) (recognizing the “principle that each

member of a plaintiff class must have a cause of action against

each defendant”). In this case, because none of the Plaintiffs

named or absent is alleged to have been injured by all the SRDs

and NSRDs, Plaintiffs have failed to allege sufficient facts to

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show the liability class has standing to bring its suit under

Article III.

    Plaintiffs reject this conclusion, relying on Payton v.

County of Kane, a Seventh Circuit case that espoused the

“juridical link doctrine.” 308 F. 3d 673 (7th Cir. 2002), cert.

denied, 540 U.S. 812, 124 S. Ct. 61, 157 Ed. 2d 26 (2003). The

juridical link doctrine holds that if the plaintiffs “as a group

- named and unnamed - have suffered an identical injury at the

hands of several parties related by way of a conspiracy or

concerted scheme, or otherwise ‘juridically related in a manner

that suggests a single resolution of the dispute would be

expeditious,’ the claim could go forward.” Id. at 679 (quoting

La Mar, 489 F.2d. at 466). Plaintiffs assert that “[n]o Second

Circuit court has suggested the juridical link doctrine cannot

apply under these circumstances.” (Pl. Reply at 20.)

    Plaintiffs cite Mahon, yet Mahon holds that Article III

only permits plaintiffs to sue defendants who injured them;

plaintiffs may not sue defendants who did not injure them, even

if those defendants engaged in similarly injurious conduct

against others. 683 F.3d at 62-63, 66. There, Plaintiff sued

Chicago Title Insurance Company (“Chicago Title”), Ticor Title

Insurance Company (“Ticor”), and Ticor Title Insurance Company

of Florida (“Ticor Florida”), all wholly owned subsidiaries of


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Fidelity National Financial. Id. at 60. The three companies

provided title insurance to Connecticut residents, which

“protects against the risk of a title challenge.” Id.

Connecticut law required title insurers to file premium rate

schedules and charge premiums in accordance with the schedules,

and the three companies coordinated their rate schedules,

including a reduced rate for refinance transactions. Id. The

three companies “routinely concealed the reduced rate for

refinance transactions from their customers,” including

Plaintiff Deborah Mahon, who purchased title insurance from

Chicago Title when refinancing an existing mortgage. Id. Chicago

Title “did not disclose to Mahon her eligibility for the

discounted refinance rate and charged her the full rate.” Id.

    Mahon then brought a putative class action suit against all

three companies on behalf of all those who paid for their title

insurance at the full rate but qualified for the reduced rate.

Id. at 61. Mahon alleged that Chicago Title was the only company

to injure her personally. Id. However, she argued that she could

properly represent a class suing the Ticor entities because they

were juridically linked to Chicago Title as wholly owned

subsidiaries of the same parent company which coordinated with

Chicago Title and used the same challenged practices against

their own customers. Id.



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    The Court of Appeals held that “whether or not Rule 23

would permit a plaintiff to represent a class against non-

injurious defendants cannot affect the plaintiff's Article III

standing to sue the non-injurious defendants.” Id. at 64. The

Court of Appeals also expressly rejected the logic of Payton.

Noting the Seventh Circuit’s interpretation of Ortiz v.

Fibreboard Corp., 527 U.S. 815, 831, 119 S.Ct. 2295, 144 L.Ed.2d

715 (1999), as a “directive to consider issues of class

certification prior to issues of standing,” Payton, 308 F.3d at

680, the Court of Appeals wrote that the Supreme Court’s

“logical antecedence” language in Ortiz was “relevant when

resolution of class certification obviates the need to decide

issues of Article III standing. We do not read it, as the Payton

court did, as instructing courts to always treat class

certification first and to treat the class as the relevant

entity for Article III purposes.” Mahon, 683 F.3d at 65.

    Finally, the Court of Appeals rejected Mahon’s

interpretation of Article III that “as long as the injurious

defendant is sued in the same case, Article III does not prevent

a plaintiff from suing non-injurious defendants” in juridical

link cases. Id. Explaining its reasoning, the Court of Appeals

wrote that Mahon “fail[ed] to explain why a plaintiff's injury

resulting from the conduct of one defendant should have any

bearing on her Article III standing to sue other defendants,

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even if they engaged in similar conduct that injured other

parties.” Id.

       Plaintiffs “invoke” Payton’s holding in their attempt to

discount the SRDs’ arguments. (Pl. Reply at 19.) However, as

discussed, the Court of Appeals expressly rejected the Seventh

Circuit’s interpretation of Supreme Court precedent that

underpinned the Payton decision. Thus, the Court declines to

adopt Payton’s reasoning and finds that Plaintiffs have failed

to allege sufficient facts to show that the liability class has

standing to sue the SRDs and the NSRDs. Plaintiffs’ motion to

certify the liability class is DENIED.

III.     Legal Standards
       A. Fed. R. Civ. P. 23

       Rule 23 reads in relevant part:

       (a)   PREREQUISITES. One or more members of a class may
             sue or be sued as representative parties on behalf
             of all members only if:

             (1)   the class is so numerous that joinder of all
                   members is impracticable;

             (2)   there are questions of law or fact common to
                   the class;

             (3)   the claims or defenses of the representative
                   parties are typical of the claims or defenses
                   of the class; and

             (4)   the representative parties will fairly and
                   adequately protect the interests of the class.

       (b)   TYPES OF CLASS ACTIONS. A class action may be
             maintained if Rule 23(a) is satisfied and if . . .

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          (2)   the party opposing the class has acted or
                refused to act on grounds that apply generally
                to the class, so that final injunctive relief
                or   corresponding   declaratory   relief   is
                appropriate respecting the class as a whole.

    B. Rule 23 Case Law

        i.   Rule 23 Generally

    “The party seeking class certification bears the burden of

satisfying Rule 23's prerequisites by a preponderance of the

evidence.” Goldemberg v. Johnson & Johnson Consumer Cos., Inc.,

317 F.R.D. 374, 384 (S.D.N.Y. 2016) (citing Teamsters Local 445

Freight Div. Pension Fund v. Bombardier Inc., 546 F.3d 196, 202

(2d Cir. 2008)).

    While a plaintiff's pleadings are taken as true for the
    purposes of examining a class certification motion,
    Shelter Realty Corp. v. Allied Maintenance Corp., 574
    F.2d 656, 661 n. 15 (2d Cir.1978), a district court must
    nevertheless apply a “rigorous analysis” to the question
    of whether a class “comports with all the elements of
    Rule 23.” See Fogarazzao v. Lehman Bros., Inc., 232
    F.R.D. 176, 179 (S.D.N.Y.2005) (citing General Tel. Co.
    of the Southwest v. Falcon, 457 U.S. 147, 161 (1982)).

Rapcinsky v. Skinnygirl Cocktails, L.L.C., 2013 WL 93636, at *3

(S.D.N.Y. Jan. 9, 2013). “In evaluating a motion for class

certification, the district court is required to make a

‘definitive assessment of Rule 23 requirements, notwithstanding

their overlap with merits issues,’ and must resolve material

factual disputes relevant to each Rule 23 requirement.” Brown v.



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Kelly, 609 F.3d 467, 476 (2d Cir. 2010) (quoting In re Initial

Pub. Offerings Sec. Litig., 471 F.3d 24, 41 (2d Cir.2006)).

             a. Rule 23(a) Prerequisites

    Plaintiffs seeking to certify a class must satisfy the

requirements of Rule 23(a): numerosity, commonality, typicality,

and adequacy of representation. The Second Circuit has also

“‘recognized an implied requirement of ascertainability in Rule

23,’ which demands that a class be ‘sufficiently definite so

that it is administratively feasible for the court to determine

whether a particular individual is a member.’” Univs.

Superannuation Scheme Ltd. v. Petróleo Brasileiro S.A. (In re

Petrobras Sec.), 862 F.3d 250, 260 (2d Cir. 2017) (quoting

Brecher v. Republic of Argentina, 806 F.3d 22, 24 (2d Cir.

2015)). “In addition to satisfying the Rule 23(a) prerequisites,

the plaintiff must qualify the proposed class under at least one

of three subsection Rule 23(b) categories.” Fed. R. Civ. P.

23(b); Goldemberg, 317 F.R.D. at 385 (citing Brown, 609 F.3d at

476). Plaintiffs move to certify their Injunctive Class under

Rule 23(b)(2). (Pl. Br. at 7.)

             b. Rule 23(b)(2): Single Injunction

    Class certification under Rule 23(b)(2) applies “only when

a single injunction or declaratory judgment would provide relief

to each member of the class.” Wal-Mart Stores, Inc. v. Dukes,


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564 U.S. 338, 360 (2011). “The key to the (b)(2) class is . . .

the conduct is such that it can be enjoined or declared unlawful

only as to all of the class members or as to none of them.” Id.

(citation omitted). Rule 23(b)(2) does not authorize class

certification when “each individual class member would be

entitled to a different injunction or declaratory judgment

against the defendant.” Id. “‘Civil rights cases against parties

charged with unlawful, class-based discrimination are prime

examples’ of what (b)(2) is meant to capture.” Id. at 361

(quoting Amchem Products, Inc. v. Windsor, 521 U.S. 591, 614

(1997)).

IV.    Discussion
       A. Rule 23(a) Prerequisites

          i.    Numerosity

       Plaintiffs say their review of Defendants’ directory of

MWAP Request Forms revealed that over one thousand patients lost

their effective MWAP medication during the class period. (Pl.

Reply at 4.) Further, Plaintiffs have gathered medical records

of “at least 180 putative class members who lost their effective

medications under MWAP.” (Pl. Br. at 10-11.)




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     Dr. Moores’ arguments against numerosity5 sound in the same

mootness bases that the Court recently rejected in its opinion

denying Defendants’ Rule 12(b)(1) motion to dismiss and granting

Plaintiffs’ motion for a preliminary injunction. (See dkt. no.

552.) The Court again rejects these arguments here.6 Even if it

is not currently clear exactly how large the class is,

Plaintiffs have shown by a preponderance of the evidence that

the class is of sufficient size that the joinder of all class

members would be impracticable. Thus, the Court finds Plaintiffs

have met the numerosity requirement.

       ii.    Commonality

     Plaintiffs propose two common questions that ask whether

Defendants’ discontinuing or denying MWAP medications without


5 Dr. Moores asserts that Plaintiffs’ injunctive class does not
meet the Rule 23(a) numerosity requirement because, due to the
new Policy 1.24A, “all individuals treated for chronic pain who
are currently or will be incarcerated by DOCCS will, by express
policy, be receiving individualized assessments, leaving no
individuals to make up a class of individuals needing injunctive
relief.” (Moores Opp. at 5-6.) Plaintiffs reject Dr. Moores’
assertion that every chronic pain patient will receive an
assessment and be effectively treated because, when Dr. Moores
reviewed a subset of patient medical records, she had to add
Code 338 (indicating a pain patient) to fifteen of the records
and had to follow up on the care of seventeen patients. (Pl.
Reply at 4-5.) Plaintiffs contend that if what Dr. Moores wrote
about mootness was true, then Dr. Moores would not have had to
intervene regarding any patient’s care. (Id.)

6 The Court similarly rejects Dr. Moores’ arguments regarding
past conduct (Moores Opp. at 9), Plaintiffs’ failure to
challenge Policy 1.24A (id. at 12-13), imminent injury (id. at
14), and the Galvan ruling (id. at 15-16).
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individualized assessments and failing to offer effective

alternative treatment meets the standard of deliberate

indifference under the Eighth Amendment. (Pl. Br. at 12.)

Dr. Moores’s arguments against commonality boil down to an

assertion that Plaintiffs’ common questions would require “‘a

highly individualistic determination,’ i.e., whether each class

member was denied necessary treatment without medical

justification.” (Moores Opp. at 9.) However, the Court notes the

string of cases Plaintiffs cited from this Circuit certifying

classes based on common questions of correctional facilities’

deliberate indifference (Pl. Br. at 12), see, e.g., McGee v.

Pallito, 2015 WL 5177770, at *4 (D. Vt. Sept. 4, 2015)

(“[w]hether the prisons’ constant illumination policy violates

the Eighth Amendment rights of prisoners is an appropriate

question for class treatment”), and thus finds that Plaintiffs

have met their showing of commonality.

      iii.    Typicality

     Despite Dr. Moores’ assertions to the contrary,7 Plaintiffs

represent that at least some of the named Plaintiffs still

require appropriate reassessments and treatment and thus have




7 Dr. Moores writes that Plaintiffs fail the typicality
requirement because “the named Plaintiffs are receiving proper
assessments and treatment and thus their claims are not typical
of the proposed class.” (Moores Opp. at 9.)

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claims typical of the injunctive class. (Pl. Br. at 14-15; Pl.

Reply at 7-8.) Based on the evidence adduced at the February

2023 evidentiary hearing (see dkt. nos. 537, 539, 541), the

Court agrees with Plaintiffs for the same reasons it found

ongoing constitutional violations within DOCCS’ medical system

in its opinion granting a preliminary injunction (see dkt. no.

552). Thus, Plaintiffs have shown typicality by a preponderance

of the evidence.

      iv.    Adequacy

    Fourth, Dr. Moores argues that Plaintiffs fail the adequacy

requirement because Plaintiffs have filed a motion to intervene

that states it is “painfully obvious that there are patients

affected by the implementation of MWAP who may not be adequately

represented by the current Plaintiffs.” (Moores Opp. at 12

(quoting dkt. no. 345 at 1).) Plaintiffs respond that Dr. Moores

“makes no cogent argument that Plaintiffs have not met the

adequacy prong.” (Pl. Reply at 8.) The Court finds that

Plaintiffs’ interests are not “antagonistic” to the interest of

other class members and Plaintiffs’ attorneys are “qualified,

experienced, and able to conduct the litigation.” Baffa v.

Donaldson, Lufkin & Jenrette Sec. Corp., 222 F.3d 52, 60 (2d

Cir. 2000). Thus, Plaintiffs have met their burden of showing

adequacy.



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        v.    Ascertainability

     Dr. Moores asserts that the criteria Plaintiffs used to

define their injunctive class, specifically the issues of

whether a putative class member is receiving effective treatment

or received or requires an individualized assessment, are

“subjective, individualized, and largely undefined.” (Moores

Opp. at 13.) Plaintiffs reply that their class is “easily

ascertainable as defined as patients who suffer from chronic

pain and/or neuropathies. Members of the class can easily be

identified with the very coding [indicating chronic pain]

applied to patients at reception . . . as well as through the

Project Bob database8 and reception facility prescription records

as necessary.” (Pl. Reply at 8-9.)

     The Court agrees with Plaintiffs. Whether a prospective

class member suffers from “chronic pain and/or neuropathies” and

requires “individualized assessments of medical need for

treatment with MWAP medications” should be ascertainable based


8 Plaintiffs write that the Project Bob database is a compilation
of the data produced by Defendants from their directory of MWAP
Request Forms. (Agnew Decl. ¶ 16.) The Project Bob database is
not a “complete rendering” of all patients affected by the MWAP
Policy because “[m]any MWAP Request forms are not included and
many patients’ medications were discontinued before June 1, 2017
when MWAP was promulgated and DOCCS started using the MWAP
Request forms.” (Id. ¶ 17.) See also, Declaration of Sterling
Avellino in Support of Plaintiff’s Fed. R. Evid. 1006 Exhibits,
dated May 16, 2022 (dkt. no. 368) (a declaration by a part-time
IT worker in Plaintiffs’ counsel’s office detailing the steps
taken to create the Project Bob database).
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on the prospective class member’s medical records. The Court

finds that Plaintiffs’ proposed injunctive class is “defined

using objective criteria that establish a membership with

definite boundaries.” In re Petrobras Securities, 862 F.3d at

264. Thus, Plaintiffs’ have made the ascertainability showing.

    B. Rule 23(b)(2): Single Injunction

    Plaintiffs propose to certify their injunctive class

pursuant to Rule 23(b)(2), which holds that a class action may

be maintained when “the party opposing the class has acted or

refused to act on grounds that apply generally to the class, so

that final injunctive relief or corresponding declaratory relief

is appropriate respecting the class as a whole.” Dr. Moores

argues that if the implementation of Policy 1.24A has only

helped a “small subset” of putative class members, then the

Court cannot certify the injunctive class because a subset of

class members would not benefit from a single injunction, as is

required under Rule 23(b)(2). (Moores Opp. at 14-15, 17.)

Dr. Moores relies on Berni v. Barilla S.p.A., in which the Court

of Appeals denied certification of a class of past purchasers of

Barilla pasta for the purposes of injunctive relief. 964 F.3d

141, 149 (2d Cir. 2020). Dr. Moores quotes Wal-Mart Stores:

“Rule 23(b)(2) applies only when a single injunction or

declaratory judgment would provide relief to each member of the



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class.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 360

(2011).

    However, the logic of the Berni decision depends on the

fact that plaintiffs there attempted to certify an injunctive

class based on a complaint that only alleged past harms. Berni,

964 F.3d at 147. By contrast, in this case, the Court has held

that Plaintiffs have shown ongoing constitutional violations,

some of which include medically unjustified discontinuations of

MWAP treatment, for example, upon transfer to a different

facility. (See dkt. no. 552.) Thus, even for those putative

class members who are currently receiving proper treatment after

the implementation of Policy 1.24A, Plaintiffs have demonstrated

a likelihood of imminent future harm across all putative class

members, making it possible for a single injunction to provide

relief to each member of the class. The Court rejects the Berni

analogy; this case is much more akin to a “[c]ivil rights case[]

against parties charged with unlawful, class-based

discrimination,” which the Supreme Court has characterized as

the “prime example[]” of what Rule 23(b)(2) is meant to capture.

Wal-Mart, 564 U.S. at 361 (quoting Amchem, 521 U.S. at 614).

Thus, the Court finds that Plaintiffs have made their Rule 23(b)

showing by a preponderance of the evidence. Plaintiffs’ motion

to certify the injunctive class is GRANTED.



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 V.      Conclusion
       For the foregoing reasons, Plaintiffs’ motion to certify an

injunctive class pursuant to Rule 23(b)(2) is GRANTED and

Plaintiffs’ motion to certify a liability class pursuant to Rule

23(b)(1)-(3) and 23(c)(4) is DENIED. The Court adopts

Plaintiffs’ definition of the injunctive class. (See supra at

2.) The Court finds Plaintiffs’ counsel are qualified,

experienced, and otherwise appropriate class counsel.

       Plaintiffs’ counsel shall write to the Court to identify

appropriate representatives for the injunctive class.

       The Clerk of the Court shall close the open motion. (Dkt.

no. 346.)



SO ORDERED.

Dated:       March 31, 2023
             New York, New York


                               __________________________________
                               LORETTA A. PRESKA
                               Senior United States District Judge




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